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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION



SOLAS OLED LTD., an Irish corporation,

                   Plaintiff,
                                                         CASE NO. 6:19-CV-00236-ADA
            v.
                                                         JURY TRIAL DEMANDED
LG Display Co., Ltd., a Korean corporation;
LG Electronics, Inc., a Korean corporation;
LG Display America, Inc., a California corporation;
LG Electronics USA, Inc., a Delaware corporation;
Sony Corporation, a Japanese corporation; and
Sony Electronics, Inc., a Delaware corporation;

                   Defendants.


                            AMENDED SCHEDULING ORDER

Deadline                         Item
Thursday, December 3, 2020       Opening Expert Reports
Thursday, December 31, 2020      Rebuttal Expert Reports
Friday, January 15, 2021         Reply Expert Reports as allowed by the Court during the
                                 November 16, 2020 discovery teleconference
Friday, January 22, 2021         Close of Expert Discovery
Thursday, January 26, 2021       Deadline to meet and confer to discuss narrowing the
                                 number of claims asserted and prior art references at issue.
                                 The parties shall file a report within 5 business days
                                 regarding the results of the meet and confer
Friday, January 29, 2021         Dispositive motion deadline and Daubert motion deadline.
Friday, February 9, 2021         Serve Pretrial Disclosures (jury instructions, exhibits lists,
                                 witness lists, discovery and deposition designations)

Thursday, February 18, 2021      Serve objections to pretrial disclosures/rebuttal disclosures
Friday, February 26, 2021        Serve objections to rebuttal disclosures and File Motions in
                                 limine


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Friday, March 5, 2021          File Joint Pretrial Order and Pretrial Submissions (jury
                               instructions, exhibits lists, witness lists, discovery and
                               deposition designations); file oppositions to motions in
                               limine.
Friday, March 12, 2021         Deadline to meet and confer regarding remaining objections
                               and disputes on motions in limine.
3 business days before Final   File joint notice identifying remaining objections to pretrial
Pretrial Conference.           disclosures and disputes on motions in limine.
                               Final Pretrial Conference. The Court expects to set the
                               Pretrial Conference within 2-4 weeks of the trial date.
Monday, March 29, 2021 at      Jury Selection/Trial. The Court expects to set this date at the
9:00 AM                        conclusion of the Markman Hearing.



                              8th day of December
      SIGNED this day of _____________________________, 2020.



                                                 _________________________________
                                                 ALAN D. ALBRIGHT
                                                 UNITED STATES DISTRICT JUDGE




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